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                      UNITED STATES COURT OF APPEALS                     FILED
                           FOR THE NINTH CIRCUIT                          JUN 28 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
NATIONAL CENTER FOR PUBLIC                      No.    22-15822
POLICY RESEARCH,
                                                D.C. No.
                Plaintiff-Appellant,            2:21-cv-02168-JAM-AC
                                                Eastern District of California,
 v.                                             Sacramento

SHIRLEY WEBER, in her official capacity         ORDER
as Secretary of State of the State of
California,

                Defendant-Appellee.

      Proceedings in this case will be held in abeyance until any appeal of the

decision in Crest et al. v. Padilla, Case No. 19STCV27651 (Los Angeles Sup. Ct.)

becomes final. Cf. Growe v. Emison, 507 U.S. 25, 32 (1993). If no petition for

review is filed with the California Supreme Court, the parties shall notify this Court

within 30 days after the deadline for filing a petition. The argument scheduled for

August 25, 2023, is vacated. The docket is administratively closed pending further

order of the Court.




                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT
